
PER CURIAM.
In Barragan v. City of Miami, 545 So.2d 252 (Fla.1989), the supreme court invalidated a Miami ordinance which authorized the city to reduce disability pension benefits for its retired employees in an amount equal to the retired employees’ workers’ compensation benefits. In the present case, a claimant applied for additional benefits in an amount equal to the offset taken by the city pursuant to the invalid ordinance, for the period before the Barragan decision. The Judge of Compensation Claims awarded these additional benefits and the city appealed to this court. In the interim, however, the supreme court has held that Barragan is to be only prospectively applied. See City of Miami v. Bell, 634 So.2d 163 (Fla.1994). Accordingly, we REVERSE and REMAND with directions that an order be entered which is consistent with Bell.
KAHN, MICKLE and VAN NORTWICK, JJ., concur.
